UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LlAT BOHADANA CASTEIL,
as Administrator ad Prosequendum

for the ESTATE OF SHAY BOHADANA,
decedent,

Plaintiff,
-against-

JUAN C. DIAZ-CASAMAYOR, FLAT

RATE LONG DISTANCE lNC. a/k/a

FLAT RATE MOVING & STORAGE, INC.,
PENSKE TRUCK LEASING COMPANY, LP,
ABC CORPORATIONS 1-5 (fictitious names)
and/or JOHN DOES 1-5 (fictitious names),

Defendants.

 

NOTICE OF REMOVAL

DocketNo.'£ lz"'C\}' Li`q 25

Defendants, FLAT RATE LONG DISTANCE, INC. and PENSKE TRUCK LEASING

CO., L.P., s/b/a PENSKE TRUCK LEASING COMPANY, LP, through their attorneys,

RENDE, RYAN & DOWNES, LLP, respectfully states upon information and belief:

l. On or about June 5, 2015, defendants received the Sumrnons and Complaint in this

action Which is currently pending in the Supreme Court of the State of New York, New York

County. A copy of the Sumrnons and Complaint is annexed hereto as Exhibit “A”. The Sumrnons

and Complaint constitute the prior pleadings to date, which upon information and belief states a

Wrongful death claim in excess of $75,000.

2. FLAT RATE LONG DISTANCE, INC. AND PENSKE TRUCK LEASING CO.,

L.P., Sfi-I/A PENSKE TRUCK LEASING COMPANY, LP are removing this action because

plaintiff is not a permanent resident alien domiciled in New York; she is a citizen of Israel. Thus,

the above-entitled action is a civil action of Which this Court has original jurisdiction under the

Case 6:16-cV-03103-BP Document 1 Filed 06/24/15 Page 1 of 3

provisions of Title 28, U.S.C. §1332 and is one which may be removed to this Court by the

defendants herein pursuant to the provisions of Title 28, U.S.C. §1441 and §1332 (Diversity).

WHEREFORE, defendants pray that the action now pending against it in the Suprerne

Court of the State of New York in and for the county of New York be removed therefrom to this

Court.

Dated: White Pla.ins, New York
June 24, 2015

TO: THE MANDEL LAW FIRM, P.C.

Attomeys for Plaintiff

370 Lexington Avenue - Suite 505
New York, New York 10017
212-697-7383

Yours, etc.,

RENDE, RYAN & DOWNES, LLP

ROLAND T. KOKE (RK-1068)
Attorneys for Defendant
FLAT RAT.E LONG DISTANCE, INC.
and PENSKE TRUCK LEASING CO.,
L.P., s/h/a PENSKE TRUCK LEASING
COMPANY, LP
202 Marnaroneck Avenue
White Plains, New York 10601
914-68 1-0444

2

Case 6:16-cV-03103-BP Document 1 Filed 06/24/15 Page 2 of 3

CERTIFICATE OF SERVICE

This is to certify that on June 24, 2015, a copy of the foregoing NOTICE OF REMOVAL
was served on the following counsel of record via regular mail:

THE MANDEL LAW F]RM, P.C.
370 Lexington Avenue - Suite 505
New York, New York 10017

wl /42

ROLAND T. KOKE (RK-1068)

3

Case 6:16-cV-O3103-BP Document 1 Filed 06/24/15 Page 3 of 3

